Case 20-30225-hdh7       Doc 30     Filed 08/26/20 Entered 08/26/20 10:44:43            Desc Main
                                   Document      Page 1 of 2



Eric A. Liepins
ERIC A. LIEPINS, P.C.
12770 Coit Road
Suite 1100
Dallas, Texas 75251
Ph. (972) 991-5591
Fax (972) 991-5788

PROPOSED ATTORNEY FOR DEBTOR

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IN RE                                        §
                                             §
EVEREADY SERVICES, INC                       §       Case No. 20-30225
                                             §
                                             §
        DEBTOR                               §



         NOTICE OF HEARING ON MOTION TO CONVERT TO CHAPTER 7


        PLEASE TAKE NOTICE that a hearing on the Debtor’s Motion to Convert to Chapter 7

will be held on September 21, 2020 beginning at 9:30 a.m before the Honorable Harlin Hale

United States Bankruptcy Judge. The hearing will be conducted by Webex and the following

link:

https://us-courts.webex.com/us-courts/j.php?MTID=m6bda89dd8e58386bd122be60e341b468

Participants are encouraged to review the attached Instructions and Tips before participating in

the hearing.


                                             Respectfully submitted,

                                             Eric A. Liepins
                                             Eric A. Liepins, P.C.
                                             12770 Coit Road
Case 20-30225-hdh7        Doc 30     Filed 08/26/20 Entered 08/26/20 10:44:43             Desc Main
                                    Document      Page 2 of 2



                                              Suite 1100
                                              Dallas, Texas 75251
                                              (972) 991-5591
                                              (972) 991-5788 - telecopier

                                              By:_/s/ Eric Liepins_________
                                                      Eric A. Liepins, SBN 12338110

                                       PROPOSED ATTORNEY FOR DEBTOR


                                       Certificate of Service

        I hereby certify that a true and correct copy of the foregoing Notice was to all creditors on
the 26th day of August 2020.

                                              ____/s/ Eric Liepins____________
                                              Eric A. Liepins
